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                Temporary Independent Fiduciary
              7 Receivership Management, Inc.
              8                     UNITED STATES DISTRICT COURT
              9                     CENTRAL DISTRICT OF CALIFORNIA
             10
             11 R. ALEXANDER ACOSTA,                          CASE NO. 19-CV-778-MWF (MAAx)
             12 Secretary of Labor, United States             Honorable Michael W. Fitzgerald
                Department of Labor,
             13                                               DECLARATION OF ROBERT W.
                             Plaintiff,                       MOORE, JR. IN SUPPORT OF
             14                                               TEMPORARY INDEPENDENT
                      v.
                                                              FIDUCIARY’S NOTICE OF
             15                                               FILING REGARDING
                RIVERSTONE CAPITAL, LLC, a
             16 California limited liability                  TERMINATION OF RIVERSTONE
                corporation; NEXGEN                           MEWA AND PARTICIPATING
             17 INSURANCE SERVICES                            PLANS
             18 INCORPORATED, a California
                corporation; NGI BROKERAGE
             19 SERVICES, INC., a California
                corporation; JAMES C. KELLY, an
             20 individual; TRAVIS O. BUGLI, an
                individual; ROBERT CLARKE, an
             21 individual; ERIK MANQUEROS, an
             22 individual,
             23              Defendants.
             24
                                                 DECLARATION
             25
             26 I, Robert E. Moore, Jr., upon penalty of perjury declare as follows:
             27        1.     I am of majority age and am President of Receivership Management,
             28
                                                          1
61815589.1        DECLARATION OF ROBERT E. MOORE JR.                       19-CV-00778 (MWF)
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    1 Inc., which is the Court-appointed Temporary Independent Fiduciary (“IF”) over
    2 the Riverstone MEWA and Participating Plans (“Plans”).
    3         2.    I make this declaration with personal knowledge of the matters set
    4 forth herein based upon the investigation the IF has made into the facts and
    5 circumstances of the Riverstone MEWA and Participating Plans since the February
    6 7, 2019 appointment from this Court.
    7         3.    Based upon the IF’s investigation to date, there are approximately
    8 $33.5 million in processed, but unpaid, claims related to the Plans. More claims
    9 are being received so that amount will be increasing and is expected to increase
   10 significantly if the Plans are not terminated.
   11         4.    Based upon the IF’s investigation to date, there are only
   12 approximately $3.5 - $4.0 million in assets that could become available to address
   13 unpaid claims.
   14         5.    So long as the Plans are not terminated, the IF is obligated under the
   15 Redacted Amended Temporary Restraining Order (D.E. #22) to pay for urgent care
   16 claims. The IF has construed this to include post-February 7, 2019 pharmacy
   17 claims and claims for critical care matters. The IF is receiving approximately
   18 $80,000.00 per week for post-February 7, 2019 pharmacy claims. The IF has been
   19 notified of several critical care claims. Payment of these amounts/claims will
   20 continue to exhaust the assets otherwise available set forth in ¶ 4 above, if the
   21 Plans are not terminated.
   22         6.    Based upon the IF’s investigation, numerous employer groups,
   23 representing thousands of plan participants, have either exited the Plans or have
   24 expressed intent to exit the Plans effective February 28, 2019. Many of the
   25 employer groups, which have expressed the intent to exit as of February 28, 2019,
   26 have yet to pay February, 2019 premiums and whether they ever will is uncertain.
   27 The IF expects that more and more employer groups will exit the Plans. The
   28
                                                 2
        DECLARATION OF ROBERT E. MOORE, JR.                               19-CV-00778 (MWF)
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    1 impact of these employer group exits is that while claims will continue to be
    2 received, the premium dollars will not, thus causing an ever-increasing deficit as
    3 between unpaid claims and assets available to pay them, which in turn, supports
    4 termination of the Plans.
    5         7.     Based on the IF’s investigation, the overwhelming majority of Plans
    6 did not have stop loss coverage. The IF, in fact, has learned that only 23 employer
    7 groups had stop loss coverage, which terminates February 28, 2019. The IF has
    8 communicated with the 23 employer groups and the stop loss provider and is
    9 taking efforts to maintain the stop loss coverage through February 28, 2019. The
   10 IF also has presented options for the 23 employer groups to secure stop loss
   11 coverage if they exit the Plans. But the fact remains that to the extent that any of
   12 the 23 employer groups remain in the Plans, there will be no stop loss coverage for
   13 post-February 28, 2019 claims. Also, the lack of stop loss coverage for the bulk of
   14 the Plans means that large claims that have already been received and which are
   15 being received have no stop loss protection. The result of this “lack of stop loss”
   16 issue is that the exposure to the Plans for large claims, both presently and going
   17 forward is great. This situation also supports the termination of the Plans.
   18         8.     The Redacted Amended Restraining Order (D.E. #22) charges the IF
   19 to design and implement a fair process for paying out covered-claims to the extent
   20 feasible. Id at p. 2 ¶4. a. Based on the above-recited facts and circumstances, it is
   21 clear that the Plans are not viable and that there is no possibility of a rehabilitation
   22 of the Plans on a going forward basis.           Equally clear is that the facts and
   23 circumstances set forth herein dictate that termination of the Plans and proceeding
   24 to liquidation is the only option available to the IF.
   25         9.     It is anticipated that the IF will present to the Court, on or before
   26 March 29, 2019, an Orderly Plan of Liquidation for the Court’s review and
   27 approval.
   28
                                                  3
        DECLARATION OF ROBERT E. MOORE, JR.                                  19-CV-00778 (MWF)
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